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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff/Respondent,
                                                          Case No. 05-80955-34
 v.                                                       Hon: AVERN COHN

 WAYNE DARNELL JOYNER,

      Defendant/Petitioner.
 ___________________________________/


            ORDER DENYING PETITIONER’S MOTION UNDER RULE 60(b)

                                               I.

        This is a criminal case. On August 21, 2008, defendant/petitioner Wayne Darnell

 Joyner (Joyner) was sentenced to a custody term of 168 months on his plea of guilty to

 violations of 21 U.S.C. §§841(a)(1), 841(b)(1)(A)(ii)(II) and 846. Joyner did not file a

 direct appeal. On August 7, 2009, Joyner filed a motion to vacate under 28 U.S.C. §

 2255. Joyner raised three claims: (1) he is innocent because the Court dismissed the

 counts he pled guilty to; (2) he received ineffective assistance of counsel because his

 counsel failed to present documents which would have shown that he had diplomatic

 immunity; and (3) the Court is not a proper Article III court.

        The Court denied the motion under §2255 for the reasons stated in the

 government’s response. See Order filed September 25, 2009.

        On October 6, 2009, Joyner filed a “Motion to the Clerk” and a “Motion for

 Amendment of Judgment.” In the Motion to the Clerk, Joyner said he did not receive a

 copy of the government’s response and requested a copy be mailed to him. The Court
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 granted the motion on October 14, 2009 and directed a copy of the government’s

 response be mailed to defendant. See Order filed October 14, 2009.

        In the Motion for Amendment of Judgment, Joyner asked the Court to

 “reconsider” denying his motion under § 2255 and again stated he did not receive a

 copy of the government’s response. The Court construed Joyner’s Motion for

 Amendment of Judgment as a motion for reconsideration and gave him ten (10) days

 from receipt of the government’s response to file a brief in support of his motion for

 reconsideration, explaining why his § 2255 motion has merit. Joyner then filed his brief.

 The Court denied the motion. See Order filed November 4, 2009.

        Before the Court is Joyner’s motion under Fed. R. Civ. P. 60(b) in which he

 argues that the Court erred in denying his § 2255 motion because he was denied copies

 of the transcripts.

                                             II.

        Fed. R. Civ. P. 60(b) provides in relevant part:

        (b) Mistakes; Inadvertence; Excusable Neglect; Newly Discovered
        Evidence; Fraud, Etc. On motion and upon such terms as are just, the court
        may relieve a party or a party's legal representative from a final judgment, order,
        or proceeding for the following reasons: (1) mistake, inadvertence, surprise, or
        excusable neglect; (2) newly discovered evidence which by due diligence could
        not have been discovered in time to move for a new trial under Rule 59(b); (3)
        fraud (whether heretofore denominated intrinsic or extrinsic), misrepresentation,
        or other misconduct of an adverse party; (4) the judgment is void; (5) the
        judgment has been satisfied, released, or discharged, or a prior judgment upon
        which it is based has been reversed or otherwise vacated, or it is no longer
        equitable that the judgment should have prospective application; or (6) any other
        reason justifying relief from the operation of the judgment.


        On April 10, 2009, Joyner filed a motion requesting copies of the plead and

 sentencing transcripts without paying the requisite fees. The Court denied the motion

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 without prejudice on the grounds that defendant must file a motion under § 2255 and

 include a request for transcripts at that time. See Order filed April 22, 2009. When

 Joyner later filed his § 2255 motion, he did not request transcripts. In his motion,

 Joyner says that he needed the transcripts to establish that his plea was coerced “by

 counsel due to his association with an organization that had political ties.” He also

 seems to argue that the guidelines were improperly calculated. As the government

 points out, both of these arguments could have been raised in his § 2255 motion. He

 cannot use Rule 60(b) to litigate such claims. Moreover, the claims Joyner did raise in

 his motion were able to be decided without the use of transcripts. Finally, to the extent

 Joyner seeks reconsideration of the Court’s order denying him free copies of the

 transcripts, his request is clearly untimely. Overall, there is no basis for granting Joyner

 relief under Rule 60(b).

        SO ORDERED.


                                            s/ Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE


 Dated: January 13, 2010


 I hereby certify that a copy of the foregoing document was mailed to Wayne Darnell
 Joyner, #40683-039, FCI Lompoc, 3600 Guard Road, Lompoc, CA 93436 and the
 attorneys of record on this date, January 13, 2010, by electronic and/or ordinary mail.


                                            s/ Julie Owens
                                           Case Manager, (313) 234-5160




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